Case 2:05-cV-02568-.]DB-STA Document 2 Filed 08/10/05 Page 1 of 4 Page|D 1

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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United States of America, CLER`;[<':{%'.SG~.W+$§OJLD

         

Plaintiff,

VS_ civilNO. 05 - 2 5 6 g

Fifty Thousand Dollars
($50,000.00) in U.S. Funds,

Defendant.

Q_RM
Pursuant to a complaint filed by the United States on mug Q'i' to , 2005,
seeking the forfeiture of Fifty Thousand Dollars ($50,000.00) in U.S. Funds under the provisions
of 18 U.S.C. §§981(a)(l)(C) and 1964, it is hereby ORDERED:

l . That the Un_ited States Marshal for this district will seize the defendant property and
hold said property subject to the further orders of this Court;

2. That the United States Marshal will serve a copy of the complaint on all known
claimants to the defendant currency including, without limitation, Sherrie-Lee Doreen Cave;

3. That the United States Marshal will advertise in the Daily News, Memphis,
Tennessee, for a period of three consecutive weeks, once per week. The advertisement will notice
that the defendant property was seized by the Federa] Bureau of Investigation from Sherrie~Lee
Doreen Cave on August 9, 2005 in Memphis, Tennessee; that a Verified Complaint of F orfeiture has
been filed pursuant to 18 U.S.C. §§981(a)(l)(C) and 1964; and that each party claiming each interest
in the said currency must tile a claim within thirty (30) days of the notice and an answer to the

complaint within twenty (20) days thereafter; pi;ance

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with Rule 58 and!or

GT COURT

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Case 2:05-cV-O2568-.]DB-STA Document 2 Filed 08/10/05 Page 2 of 4 Page|D 2

By:

4. The Marshal may use the attached legal notice in the advertisementl

ENTERED: This logang of

APPROVED:

TERRELL L. HARRIS
United States Attorney

/aa@€a/

 

£)ASTOPHER a CoT'raN
ssistant United States Attorney
800 Federal Building

Memphis, Tennessee 38103
(#014277 Tennessee)

(90l) 544-4231

,2005.

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UNr"ED sTATEs DISTRICTJLLDGE

 

Case 2:05-cV-O2568-.]DB-STA Document 2 Filed 08/10/05 Page 3 of 4 Page|D 3

IN THE UNITED STATES DISTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

United States of Arnerica,

Plaintiff,
vs. CivilNo. 05 -2 56 8
Fifty Thousand Dollars
($50,000.00) in U.S. Funds,

Defendant.

LEGAL NOTICE

 

Take notice that on August 9, 2005, agents of the F ederal Bureau of lnvesti gation seized Fifty
Thousand Dollars ($50,000.00) in U.S. Funds from Sherrie-Lee Doreen Cave in l\/Iemphis,
Tennessee.

On |AQ(Z ]§&S"`" l 0 2005, the United States filed a complaint to forfeit said United
States currency under the provisions of 18 U.S.C. §§981(a)(1)(C) and 1964, the complaint being
styled:

United States ofAmerica v. Fiftv Thousand Dollars ($50,000.00) in U.S. Funds,

No.

Eacli party having any objection to said forfeiture or maintaining any claim to the said United
States currency must file a claim in the District Court for the Westem Distri_ct of Tennessee, 242
Federal Building, 167 N. Main, Memphis, Tennessee 38103 and serve notice upon the United States
Attorney, 800 Federal Building, Mernphis, Tennessee 38103 within thirty (30) days of the first

publication of this notice and must file an answer to the complaint within twenty (20) days thereafter.

BAn

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02568 was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Richard M. Steingard

LAW OFFICE OF RICHARD M. STEINGARD
800 Wilshire Blvd.

Ste. 15 10

Los Angeles7 CA 90017

Honorable .l. Breen
US DISTRICT COURT

